                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 119 Filed 04/15/21 Page 1 of 4 Page ID #:1931



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                                                                                                                  9   CHAOYING DENG and Defendant and
                                                                                                                      Counterclaimant FARADAY&FUTURE INC.
                                                                                                                 10
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                                                                                                                 11                           UNITED STATES DISTRICT COURT
                                                                                                                 12                          CENTRAL DISTRICT OF CALIFORNIA
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13                                   WESTERN DIVISION
                                                                                                                 14
                                                                                                                 15   HONG LIU,                                    Case No. 2:20-cv-08035-SVW-JPR

                                                                                                                 16                     Plaintiff,                The Honorable Stephen V. Wilson

                                                                                                                 17           v.                                  JOINT STIPULATION RE
                                                                                                                                                                  DISCOVERY, PRE-TRIAL AND
                                                                                                                 18   FARADAY&FUTURE INC.,                        TRIAL DATES UNDER CIVIL
                                                                                                                      SMART KING LTD., JIAWEI                     TRIAL PREPARATION ORDER
                                                                                                                 19   WANG, and CHAOYING DENG,                    [DKT. NO. 87]

                                                                                                                 20                     Defendants.

                                                                                                                 21
                                                                                                                      AND RELATED COUNTERCLAIM
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                                                                                                                             JOINT STIPULATION RE DISCOVERY, PRE-TRIAL AND TRIAL DATES UNDER CIVIL TRIAL
                                                                                                                                                    PREPARATION ORDER [DKT. NO. 87]
                                                                                                                      115287625
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 119 Filed 04/15/21 Page 2 of 4 Page ID #:1932



                                                                                                                  1           Pursuant to the Court’s Civil Trial Preparation Order dated February 25, 2021
                                                                                                                  2   [Dkt. No. 87] (the “Trial Preparation Order”), Defendants Faraday&Future Inc.,
                                                                                                                  3   Smart King Ltd., Jiawei Wang, and Chaoying Deng, and Plaintiff Henry Liu
                                                                                                                  4   (collectively, the “Parties”), hereby submit the following stipulation regarding
                                                                                                                  5   certain discovery, pre-trial and trial dates:
                                                                                                                  6           WHEREAS, the Trial Preparation Order vacated a previously scheduled status
                                                                                                                  7   conference and serves as this case’s scheduling order under Rule16(b) of the Federal
                                                                                                                  8   Rules of Civil Procedure (“Federal Rules”);
                                                                                                                  9           WHEREAS, the Trial Preparation Order was entered on February 25, 2021
                                                                                                                 10   and set trial for June 8, 2021;
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                                                                                                                 11           WHEREAS, the Trial Preparation Order ordered the parties to begin discovery
                                                                                                                 12   following that order’s issuance and to conduct discovery in accord with the Federal
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
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                                                                                                                 13   Rules to the fullest extent possible;
                                                                                                                 14           WHEREAS, the Trial Preparation Order invited the parties to file a stipulation
                                                                                                                 15   to adjust discovery deadlines as necessitated by the trial date set in the Trial
                                                                                                                 16   Preparation Order;
                                                                                                                 17           WHEREAS, the Parties previously agreed that certain discovery deadlines set
                                                                                                                 18   by the Federal Rules require adjustment; and
                                                                                                                 19           WHEREAS, the Parties, through their respective attorneys of record,
                                                                                                                 20   previously stipulated and agreed to case dates, which were entered as an Order of the
                                                                                                                 21   Court [Dkt. No. 96];
                                                                                                                 22           WHEREAS, a significant dispute has arisen between the Parties relating to the
                                                                                                                 23   applicability and scope of the attorney-client privilege and attorney work product
                                                                                                                 24   doctrine in this case, which dispute was discussed with Magistrate Judge Rosenbluth
                                                                                                                 25   at a hearing on April 15, 2021 (see Decl. of Kevin A. Crisp ¶ 2, Ex. 1); and
                                                                                                                 26
                                                                                                                              WHEREAS, at the April 15, 2021 hearing, Judge Rosenbluth suggested that
                                                                                                                 27
                                                                                                                      the Parties submit a stipulation to amend the Scheduling Order and continue pertinent
                                                                                                                 28                                              -1-
                                                                                                                             JOINT STIPULATION RE DISCOVERY, PRE-TRIAL AND TRIAL DATES UNDER CIVIL TRIAL
                                                                                                                                                    PREPARATION ORDER [DKT. NO. 87]
                                                                                                                      115287625
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 119 Filed 04/15/21 Page 3 of 4 Page ID #:1933



                                                                                                                  1   deadlines by three weeks, including the trial date, and advised the Parties to include
                                                                                                                  2   as one of the grounds for said continuance that Judge Rosenbluth has granted
                                                                                                                  3   expedited briefing on a matter critical to moving through discovery and meeting the
                                                                                                                  4   existing deadlines. (Id.)
                                                                                                                  5           THEREFORE, the Parties stipulate and agree to the following case dates:
                                                                                                                  6    Event                                          Deadline
                                                                                                                  7    Fact Discovery Cut-Off                         May 14, 2021
                                                                                                                       Last Day to Serve Initial Expert Reports       May 18, 2021
                                                                                                                  8
                                                                                                                       Last Day to File Motions (except               May 18, 2021
                                                                                                                  9    Daubert and all other Motions in
                                                                                                                       Limine)
                                                                                                                 10
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                                                                                                                       Last Day to Serve Rebuttal Expert              May 25, 2021
                                                                                                                 11    Reports
                                                                                                                 12    Expert Discovery Cut-Off                       June 8, 2021
                                                                               I R V I N E , C A 92614-2545




                                                                                                                       Last Day to File Daubert Motions and           June 15, 2021
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13    Motions in Limine
                                                                                                                 14    Any Unresolved Discovery Disputes              June 8, 2021*
                                                                                                                       Must be Brought Promptly and Directly
                                                                                                                 15    to the Attention of this Court
                                                                                                                 16    Memoranda of Contentions of Fact and           June 22, 2021*
                                                                                                                       Conclusions of Law, Trial Briefs, Exhibit
                                                                                                                 17    Lists, Witness Lists, Jury Instructions
                                                                                                                 18    Due
                                                                                                                       Three Copies of Previously-Filed Exhibit       June 29, 2021
                                                                                                                 19    List, Three Copies of Previously-Filed         8:30 AM*
                                                                                                                 20    Witness, One Copy of Previously-Filed
                                                                                                                       Witness’ Declarations, List Due to
                                                                                                                 21    Courtroom Deputy Clerk
                                                                                                                 22    Trial                                          June 29, 2021
                                                                                                                                                                      9:00 AM *
                                                                                                                 23
                                                                                                                      *Denotes date set by Trial Preparation Order, albeit moved by three weeks per
                                                                                                                 24
                                                                                                                      Judge Rosenbluth’s suggestion.
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                                                                                                                 28                                             -2-
                                                                                                                             JOINT STIPULATION RE DISCOVERY, PRE-TRIAL AND TRIAL DATES UNDER CIVIL TRIAL
                                                                                                                                                    PREPARATION ORDER [DKT. NO. 87]
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                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 119 Filed 04/15/21 Page 4 of 4 Page ID #:1934



                                                                                                                  1   Dated: April 15, 2021                         TROUTMAN PEPPER HAMILTON
                                                                                                                                                                    SANDERS LLP
                                                                                                                  2
                                                                                                                  3                                                 By /s/ Kevin A. Crisp
                                                                                                                                                                      Kevin A. Crisp
                                                                                                                  4
                                                                                                                                                                        Attorneys for Defendants
                                                                                                                  5                                                     SMART KING LTD., JIAWEI
                                                                                                                                                                        WANG, and CHAOYING DENG
                                                                                                                  6                                                     and Defendant and Counterclaimant
                                                                                                                                                                        FARADAY&FUTURE INC.
                                                                                                                  7
                                                                                                                      Dated: April 15, 2021                         FOUNDATION LAW GROUP LLP
                                                                                                                  8
                                                                                                                  9                                                 By: /s/ Kevin D. Hughes
                                                                                                                                                                       Kevin D. Hughes
                                                                                                                 10
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                                                                                         Attorneys for Plaintiff
                                                                                                                 11                                                      HONG LIU
                                                                                                                 12
                                                                               I R V I N E , C A 92614-2545




                                                                                                                                                          ATTESTATION
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13           Pursuant to L.R. 5-4.3.4, I hereby attest that all other signatories listed, and
                                                                                                                 14   on whose behalf the filing is submitted, concur in the filing’s content and have
                                                                                                                 15   authorized the filing.
                                                                                                                 16                                                       /s/ Kevin A. Crisp
                                                                                                                 17                                                      Kevin A. Crisp

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                                                                                                                             JOINT STIPULATION RE DISCOVERY, PRE-TRIAL AND TRIAL DATES UNDER CIVIL TRIAL
                                                                                                                                                    PREPARATION ORDER [DKT. NO. 87]
                                                                                                                      115287625
